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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

   IN RE: OIL SPILL BY THE OIL RIG                           MDL NO.: 2179
   “DEEPWATER HORIZON” IN THE GULF
   OF MEXICO, ON APRIL 20, 2010                              SECTION: J

    THIS DOCUMENT RELATES TO:                                JUDGE BARBIER

    Case No.: 2:10-cv-08888, [Rec. Doc. 66975];              MAG. JUDGE SHUSHAN
              2:10-cv-02771


                                             ORDER

       Considering the foregoing Motion to Withdraw as Counsel:

       IT IS ORDERED that the Dugan Law Firm, APLC be allowed to withdraw as counsel

of record for Plaintiff, Heath M. Guidry in this case.

       Signed in New Orleans, Louisiana this _______ day of _____________, 2012.



                                              _____________________________________
                                                 UNITED STATES DISTRICT JUDGE
